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                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a copy of the foregoing Declaration

has been served this 9th day of September, 2013 on the parties identified below by

using the CM/ECF system, which automatically sends e-mail notification to the

following attorney of record:


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